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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 Laura K. Warren,                                  §
                                                   §
      Plaintiff,
                                                   §
                                                   §                      Case No. 4:18-cv-02220
 v.
                                                   §
                                                   §
 The CBE Group, Inc.
                                                   §
      Defendant.                                   §

                                   NOTICE OF SETTLEMENT

          COMES NOW, Plaintiff Laura K. Warren and Defendant The CBE Group, Inc.

(collectively “the Parties”) and files this Notice of Settlement, and will show onto this Court as

follows:

          The Parties in this case have reached a settlement which will resolve all outstanding issues

in this case. The Parties request sixty (60) days to complete the settlement and file a Stipulation of

Dismissal.

          The Parties further request that the Initial Conference set for January 4, 2019, at 3:00 PM

be stricken.

          Agreed as to form and content, and respectfully submitted:

 /s/ Omar T. Sulaiman                                  /s/Jacob Michael Bach
 Omar T. Sulaiman                                      JACOB MICHAEL BACH
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